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                                                       February 5, 2024

    VIA E-FILE
    Honorable Rukhsanah L. Singh, U.S.M.J.
    United States District Court
    Clarkson S. Fisher Federal Building & US Courthouse
    402 E. State Street
    Trenton, NJ 08608

                  Re: Case Management Conference Attendance
                      Jonson & Johnson Talcum Powder Products, Marketing,
                      Sales Practices and Products Liability Litigation
                      Case No.: 3:16-md-02738-MAS-RLS



    Dear Judge Singh:

           Pursuant to Your Honor’s request, the undersigned attorney will be making an appearance

    on behalf of Defendant PTI Union, LLC and Specially-Appearing Defendant, PTI Royston, LLC

    for the Case Management Conference and hearing on an Order to Show Cause set to take place on

    February 7, 2024. That said, I do not anticipate speaking unless questions are raised as to the PTI

    defendants.

           Thank you for your consideration of these matters.

                                                       Respectfully submitted,

                                                       /s/Janet L. Poletto
                                                       Janet L. Poletto, Esq.
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                                         Attorneys for Defendant, PTI Union LLC, and
                                         Specially-Appearing Defendant PTI Royston,
                                         LLC

    JLP:pth
